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      In The United States Court of Federal Claims
                                           No. 06-101C

                                      (Filed: July 15, 2011)
                                           __________
JAY CASHMAN, INC.,

                      Plaintiff,

      v.

THE UNITED STATES,

                      Defendant

                                           __________

                                            ORDER
                                           __________

        On May 23, 2011, through June 1, 2011, the court held trial in this case in Boston, MA.
At the close of trial, the record remained open pending the receipt of the transcript of the trial
proceedings. On July 1, 2011, the court received a copy of the trial transcript. Proof in this case
is now closed.




                                                             s/Francis M. Allegra
                                                             Francis M. Allegra
                                                             Judge
